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                                        UNPUBLISHED

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT


                                        No. 12-8052


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                    v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
        Dobie Parker,

                          Defendant - Appellant.



                                        No. 13-4208


        UNITED STATES OF AMERICA,

                          Plaintiff - Appellee,

                    v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
        Dobie Parker,

                          Defendant - Appellant.



        Appeals from the United States District Court for the District
        of Maryland, at Greenbelt.    Roger W. Titus, District Judge.
        (8:04-cr-00235-RWT-9)


        Submitted:    September 25, 2013              Decided:    October 17, 2013


        Before KING, GREGORY, and DUNCAN, Circuit Judges.
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        Affirmed by unpublished per curiam opinion.


        Jonathan A. Gladstone, LAW OFFICE OF JONATHAN A. GLADSTONE,
        Annapolis, Maryland, for Appellant.    Rod J. Rosenstein, United
        States Attorney, Nicolas A. Mitchell, Assistant United States
        Attorney, Greenbelt, Maryland, for Appellee.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

                        Lavon   Dobie    appeals         the     170-month    sentence          imposed

        following this court’s remand for consideration of her request

        for a minor role adjustment under U.S. Sentencing Guidelines

        Manual § 3B1.2 (2012). *              Dobie challenges the reasonableness of

        her sentence, arguing that the district court erroneously found

        that it was barred from sentencing Dobie below the Guidelines

        range     and    that    the    court      failed       to   consider       the    18    U.S.C.

        § 3553(a) (2006) factors.              We affirm.

                        We review a sentence for reasonableness, applying a

        deferential        abuse-of-discretion                standard.           Gall    v.     United

        States,     552      U.S.      38,    51     (2007).          This        review       requires

        consideration           of     both        the        procedural      and         substantive

        reasonableness of the sentence.                        Id. at 51.           In determining

        procedural        reasonableness,          we    consider      whether       the       district

        court     properly      calculated      the      defendant’s       advisory        Guidelines

        range,     gave     the      parties       an        opportunity     to     argue       for   an


              *
                Dobie also appealed from the district court’s order
        denying her motion for retroactive application of the Fair
        Sentencing Act, giving rise to Appeal No. 12-8052, which was
        consolidated with Appeal No. 13-4208.     Because Dobie’s brief
        challenges only the sentence imposed on resentencing, Dobie has
        abandoned any challenge to the application of the Fair
        Sentencing Act and we do not consider that issue here.      See
        Edwards v. City of Goldsboro, 178 F.3d 231, 241 n.6 (4th Cir.
        1999) (noting that pursuant to Fed. R. App. P. 28(a)(9)(A),
        issues not briefed are deemed abandoned).



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        appropriate      sentence,       considered      the       §    3553(a)      factors,       or

        failed to explain sufficiently the selected sentence.                                Id. at

        49-51.

                    If     the    sentence     is    free     of       significant        procedural

        error, we review it for substantive reasonableness, “tak[ing]

        into account the totality of the circumstances.”                                 Id. at 51.

        When, as here, the sentence is within the properly calculated

        Guidelines    range,      we   apply    a    presumption            on   appeal    that    the

        sentence is substantively reasonable.                  United States v. Mendoza-

        Mendoza, 597 F.3d 212, 217 (4th Cir. 2010).                          Such a presumption

        is rebutted only if the defendant shows “that the sentence is

        unreasonable       when    measured     against       the       §    3553(a)      factors.”

        United   States     v.    Montes-Pineda,        445    F.3d         375,   379    (4th    Cir.

        2006) (internal quotation marks omitted).

                    The district court correctly calculated and considered

        the advisory Guidelines range, heard argument from counsel, and

        heard allocution from Dobie.                Contrary to Dobie’s argument, the

        court considered the § 3553(a) factors and explained that the

        within-Guidelines sentence was warranted.                           The district court

        understood    it    had    the   authority      to     sentence          Dobie    below    the

        Guidelines range but opted to impose a sentence at the bottom of

        that range.        Dobie offers no argument to rebut the presumption

        on appeal that her within-Guidelines sentence is substantively



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        reasonable.      Accordingly, we conclude that the district court

        did not abuse its discretion in sentencing Dobie.

                    We affirm the district court’s judgment.              We dispense

        with oral argument because the facts and legal contentions are

        adequately    presented    in   the   materials   before   this    court   and

        argument would not aid the decisional process.

                                                                             AFFIRMED




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